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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

APPLE INC.,                                      )
                                                 )
                        Plaintiff,               )
                                                 )
        v.                                       )    C.A. No. 2:21-cv-460
                                                 )
TELEFONAKTIEBOLAGET LM                           )    Jury Trial Demanded
ERICSSON and ERICSSON INC.,                      )
                                                 )
                        Defendants.              )
                                                 )

                                             COMPLAINT

        Plaintiff Apple Inc. on personal knowledge as to its own acts, and on information and belief

as to all other acts, alleges as follows:

                                            INTRODUCTION

        1.      In December 2015, Apple and Ericsson signed a seven-year license agreement to

resolve worldwide litigation, including litigation in which Ericsson asserted patents that it claimed

were essential to cellular standards (“SEPs”) and that it irrevocably (and voluntarily) promised to

license on fair, reasonable, and non-discriminatory (“FRAND”) terms. That license agreement

remains in force today. That license agreement also should have meant that the parties would not

be in court against each other for the duration of the agreement. Notwithstanding that, and even

though the parties had not even begun to discuss commercial terms of a renewed agreement,
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Ericsson sued Apple in the Netherlands and in this Court.1 Ericsson’s actions violated both its

agreement with Apple and its FRAND commitments.

        2.     In the Netherlands, Ericsson secretly went to court on September 29, 2021 and

misrepresented Apple’s past conduct to obtain a temporary order that barred Apple from seeking

judicial protection against Ericsson’s strong-arm tactics. When Ericsson eventually served Apple

with the secret order it had obtained from the Dutch court and Apple was allowed to tell its side of

the story in that Dutch court, including correcting what Ericsson was forced to concede was a

misrepresentation about Apple, the Dutch court lifted the temporary order and also denied

Ericsson’s subsequent attempt to have it reinstated more permanently.

        3.     In this Court, Ericsson’s actions were equally illegitimate. Ericsson sent Apple

what Ericsson purports is a FRAND offer—merely a summary of Ericsson’s publicly demanded

license rates—and sued Apple in this Court six minutes later for allegedly being unwilling to agree

to Ericsson’s “sticker price” terms. Ericsson sued rather than negotiate in good faith with Apple,

because Ericsson is trying to coerce Apple to pay excessive future royalties in breach of Ericsson’s

binding FRAND commitments.

        4.     Despite Ericsson’s misconduct, Apple remains a willing licensee of Ericsson’s

patents, and Apple is willing to grant Ericsson a license to Apple’s own FRAND-committed

patents on FRAND terms. Apple has proposed to Ericsson that the parties simply extend the terms

of the parties’ 2015 license agreement with limited revisions for changed circumstances. Apple



1
 As set forth in Apple’s motion to dismiss filed concurrently in Civil Action No. 2:190-cv-00066-
JRG, Ericsson’s lawsuit breaches the parties’ license because it

           and fails to state a claim given the existence of that license. To the extent that the Court
disagrees with Apple and concludes that such claims can be pursued during the term of the license,
Apple is pursuing similar claims against Ericsson—i.e., Counts II through VII.

                                                  2
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has also proposed that if the parties cannot agree on terms for a renewed license, the parties have

arbitrators set binding FRAND terms. But Ericsson has refused these offers and remains intent on

holding up Apple for royalties that are far higher than those Apple already pays for the same

patents under the parties’ existing agreement. In short, Ericsson is using litigation and strong-arm

tactics to demand payments from Apple that are neither fair nor reasonable and are discriminatory.

       5.      Apple brings this Complaint to seek relief for Ericsson’s breach of the parties’

existing agreement through its premature litigation and its breach of its FRAND commitments.

Apple seeks a declaration that Ericsson has breached (i) the parties’ current agreement as well as

(ii) Ericsson’s FRAND obligation to offer FRAND terms for a new license. And because Ericsson

has consented to such a procedure in this Court and is contractually bound by its voluntary FRAND

commitments, Apple also seeks (iii) a binding judicial determination of FRAND terms for Apple

to license Ericsson’s SEPs globally, including by reference to the terms previously agreed upon

by the parties in their 2015 license.

       6.      In addition, and related to Apple’s commitment to a FRAND determination (which

would necessarily include analysis of Ericsson’s SEPs), Apple seeks (iv) a declaration that certain

of Ericsson’s claimed SEPs are simply not infringed and not essential, and that no royalties need

be paid on those patents.

                                            PARTIES

       7.      Apple is a corporation organized under the laws of the State of California, having

its principal place of business at 1 Apple Park Way in Cupertino, California 95014.

       8.      When Apple unveiled iPhone in 2007, it revolutionized the telecommunications

industry and completely redefined what users can do on their mobile phones. iPhone combined

three products—a groundbreaking mobile phone, a widescreen iPod music player, and a

revolutionary computer/Internet communications device—into one small and lightweight
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handheld device with a large, color multi-touch display; a distinctive user interface; and a

sophisticated computing platform for mobile apps. Apple patented many of these innovations.

       9.     In 2010, Apple created and defined an entirely new category of devices with iPad.

iPad connected users with their apps and content in a much more intimate, intuitive, and fun way.

iPad was an elegantly designed computer tablet with a color multi-touch screen and user interface

akin to iPhone, and robust functionality that spans both mobile computing and media storage and

playback. As a result of its innovative technology and distinctive design, iPad achieved instant

success.

       10.    In 2015, Apple shook up the emerging wearables market with Apple Watch. Apple

Watch wholly reimagined the computer for the wrist, including a novel user interface that joins a

touchscreen and physical buttons. Within months of its release, Apple Watch became a top selling

wearable device in the world.

       11.    Apple has continued to revolutionize iPhone, iPad, and Apple Watch with new

features, functionalities, technologies, and tools that help users simply do more.       Apple’s

innovations have been recognized with thousands of patents around the world. Apple’s iPhone,

iPad, and Apple Watch products are the result of Apple’s own creative achievement, technical

innovation, differentiated technology, and astute business judgment.

       12.    Among many other functions, iPhone as well as certain models of iPad and Apple

Watch can send and receive, over cellular networks, telephone calls and/or other voice and video

communications, text messages, and Internet data. A mobile wireless device, like iPhone, iPad, or

Apple Watch, uses a baseband processor chipset to make cellular communications. The baseband

processor chipset is a component that, among other functions, acts as a small wireless radio and

“plugs in” to a standardized telecommunications network.        Such networks are created and



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maintained by cellular service providers, including, for example, AT&T, Verizon, T-Mobile, and

U.S. Cellular.2 For these carrier companies to deploy a 5G network, certain base stations and other

related equipment that support the 3GPP 5G NR standard must be installed and utilized. Ericsson

is one such manufacturer of 5G base stations and other equipment used by cellular service

providers.

        13.    Telefonaktiebolaget LM Ericsson (“LME”) is a Swedish corporation having its

headquarters at Torshamnsgatan 21, Kista, 164 83 Stockholm, Sweden.

        14.    Ericsson Inc. is a Delaware corporation having a principal place of business at 6300

Legacy Drive, Plano, Texas 75024. Ericsson Inc. is a wholly-owned subsidiary of LME. LME

and Ericsson Inc. are referred to herein collectively as “Ericsson.”

        15.    Once a handset manufacturer itself, Ericsson faced “a history of problems in

handsets, ranging from supply to clunky designs that did not appeal to consumers.”3 “[W]ith

annual results that barely met analysts’ reduced forecasts,” in 2001, Ericsson said that “it would

stop manufacturing mobile phones, as it trie[d] to shore up a division that is hemorrhaging cash.”4

        16.    Ericsson tried to continue in the handset business through a joint venture. But as a

history of Ericsson on its website documents, after some initial success, the venture struggled to

keep up with competitors, including Apple. As an example, the “Xperia model, also called the X1

and described as a flagship model, was . . . a flop. The Xperia was launched in the autumn of 2008


2
   Apple, 5G and LTE. Find the iPhone that’s right for your country or region,
https://www.apple.com/iphone/cellular/; Apple, Wireless carrier support and features for iPhone
in the United States and Canada, https://support.apple.com/en-us/HT204039.
3
   New York Times, Ericsson’s 2001 Loss Is First in 50 Years, Jan. 26, 2002,
https://www.nytimes.com/2002/01/26/technology/ericssons-2001-loss-is-first-in-50-years.html.
4
  New York Times, Ericsson Plans to Stop Manufacturing Mobile Phones, Jan. 26, 2001,
https://www.nytimes.com/2001/01/26/business/ericsson-plans-to-stop-manufacturing-mobile-
phones.html.

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. . . and was intended to be a clever means of introducing users to the mobile internet. But Xperia

had too many bugs. And it could not compete with the iPhone in user-friendliness.”5

        17.    After the collapse of its handset business, Ericsson transitioned to network

infrastructure equipment and other businesses. Those other lines of business include patent

licensing and patent assertion. Ericsson reported approximately 100 signed license agreements,

and over $1 billion in licensing revenue in 2020.6

                                         JURISDICTION

        18.    This Court has jurisdiction over the federal claims alleged under 28 U.S.C. §§ 1331

and 1338(a). This Court also has supplemental jurisdiction over other claims pursuant to 28 U.S.C.

§ 1367(a) because those claims form part of the same case or controversy as the federal law claims.

This Court may grant declaratory and injunctive relief in this action pursuant to at least 28 U.S.C.

§§ 2201 and 2202.

        19.    The Court also has original jurisdiction over Apple’s claims pursuant to 28 U.S.C.

§ 1332, because Apple is a citizen of California, LME is a citizen of Sweden, Ericsson Inc. is a

citizen of Texas, and the value of the matter in controversy exceeds $75,000.

        20.    Venue is proper in this District pursuant to 28 U.S.C. § 1391, because, during the

relevant period, Ericsson have and continue to reside in this District.

        21.    This Court has both general and specific jurisdiction over Ericsson.

        22.    Ericsson Inc. has its headquarters in Plano, Texas in this District.



5
   Ericsson, The problematic mobile phone sector, https://www.ericsson.com/en/about-
us/history/changing-the-world/the-future-is-now/the-problematic-mobile-phone-sector.
6
        Ericsson    Annual      Report        2020,      pdf     pp.     7,     17,       18,
https://www.ericsson.com/494193/assets/local/investors/documents/2020/annual-report-2020-
en.pdf.


                                                 6
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        23.      LME is “a holding company operating worldwide through its subsidiaries and

affiliated entities. The subsidiaries acted as divisions of the parent, rather than separate and

independent entities.”7

        24.      LME’s Annual Report for 2020 confirms that “[t]he Company is composed of a

parent company, Telefonaktiebolaget LM Ericsson, with generally fully-owned subsidiaries in

many countries of the world.” One of the largest operating subsidiaries is the fully-owned telecom

vendor company Ericsson Inc., incorporated in the US.8 Ericsson Inc. thus acts as an agent of

LME.

        25.      Ericsson regularly does business or solicits business, engages in other persistent

courses of conduct, and derives substantial revenue from products and/or services provided to

individuals in Texas.      Ericsson, directly and through subsidiaries or intermediaries, has

purposefully and voluntarily placed one or more products and/or services in the stream of

commerce related to this dispute with the intention and expectation that they will be purchased and

used in Texas.

        26.      Further, as described herein, LME breached its license agreement with Apple by

filing suit against Apple (together with Ericsson Inc.) before this Court. Moreover, Ericsson

licensing executives based in Texas have negotiated with Apple about Ericsson’s SEPs, giving rise

to the breaches and unlawful conduct alleged herein.




7
  Letter to Simpson Thatcher & Bartlett LLP at A-1-A-2, U.S. v. Telefonaktiebolaget LM Ericsson,
19-CRIM-884         (S.D.N.Y.     Dec.      6,     2019),       https://www.justice.gov/criminal-
fraud/file/1226521/download.
8
           Ericsson         Annual             Report         2020           at           33,
https://www.ericsson.com/494193/assets/local/investors/documents/2020/annual-report-2020-
en.pdf.

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                                       BACKGROUND

        A.     ETSI and its Intellectual Property Rights Policy

        27.    The European Telecommunications Standards Institute (“ETSI”) is an independent,

non-profit standard-setting organization (“SSO”) that produces globally-accepted standards for the

telecommunications industry. ETSI has more than 900 members from 65 countries across five

continents. ETSI created or helped to create many telecommunication standards, including the 2G

GSM, 3G WCDMA/UMTS, 4G LTE, and 5G NR cellular communication standards.

        28.    ETSI is an Organizational Partner, along with six other regional SSOs, in the Third

Generation Partnership Project (“3GPP”). The regional SSO covering the United States is ATIS,

the Alliance for Telecommunications Industry Solutions. Another SSO based in the United States,

TIA (Telecommunications Industry Association), is an observer of 3GPP activities.

        29.    Under 3GPP’s Intellectual Property Rights (“IPR”) Policy, individual members

“shall be bound by the IPR Policy of their respective Organizational Partner.”9

        30.    3GPP produces technical specifications that are adopted by Organizational

Partners, such as ETSI, as standards. 3GPP was created to oversee work on global 3G cellular

specifications and has subsequently worked on creating 4G and 5G specifications. The 3GPP

Organizational Partners agreed that members of a particular Organizational Partner would be

bound by the IPR policy of that Organizational Partner when participating at 3GPP.

        31.    Standards are beneficial because they help allow devices made by one company to

communicate with devices made by other companies—that is, these devices can speak the same




9
 3GPP Working Procedures, Article 55,
https://www.3gpp.org/ftp/Information/Working_Procedures/3GPP_WP.htm#Foreword.

                                                8
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language. Standardization helps consumers have confidence that products bought from different

manufacturers will interoperate with each other.

          32.    But standards can also lead to problems that harm competition and consumers when

companies claim to hold patents essential to the standards, and use that as leverage to demand

excessive royalties from product companies. Inclusion of a patent in a standard can confer

substantial market power on the holder of that patent. Before adoption of the standard, alternative

technologies compete to be included in the standard, and the SSO has the option of determining

not to standardize a particular function. But once a standard is adopted and a particular manner of

implementing the standard is chosen, using those alternatives often may no longer be feasible.

Companies that use the standard—such as by supplying cellular devices that operate on networks

using the standard—make substantial investments that are tied to using the standard. Because

these companies face substantial switching costs in abandoning the standard and finding an

alternative means of providing the same functionality or such switching may be completely

infeasible, the industry may become “locked in” to a standard.

          33.    SSOs have adopted IPR policies to address the potential harms from lock-in of a

standard, including the risk that SEP holders can hold up users of the standard by taking advantage

of their dependence on the standard, and to ensure that standard setting is pro-competitive and not

open to abuse.

          34.    ETSI has adopted an IPR Policy, incorporated as Annex 6 of the ETSI Rules of

Procedure.10 The ETSI IPR Policy is governed by the laws of France and provides in Clause 12

that “[a]ny right granted to, and any obligation imposed on, a MEMBER which derives from

French law and which are not already contained in the national or supranational law applicable to


10
     ETSI IPR Policy, https://www.etsi.org/images/files/IPR/etsi-ipr-policy.pdf.

                                                   9
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that MEMBER is to be understood as being of solely a contractual nature.” There is an expectation

that ETSI members will abide by the ETSI IPR Policy.

       35.      ETSI’s IPR Policy was designed to benefit all ETSI members, as well as all other

parties that wish to use an ETSI standard. In particular, a stated objective of the Policy, described

in Clause 3.1, is to “reduce the risk” to those using the standards or other technical specifications

“that investment in the preparation, adoption and application of the STANDARDS could be wasted

as a result of an ESSENTIAL IPR for a STANDARD or TECHNICAL SPECIFICATION being

unavailable.”

       36.      To that end, the ETSI IPR Policy provides that owners of IPRs are to be asked if

they will voluntarily submit an irrevocable written undertaking or commitment that they are

prepared to grant irrevocable licenses to anyone on “fair, reasonable, and non-discriminatory” or

FRAND terms and conditions. Clause 6 of ETSI’s IPR Policy governs the availability of licenses

to essential IPR.11 In relevant part, Clause 6.1 states:

                When an ESSENTIAL IPR relating to a particular STANDARD or
                TECHNICAL SPECIFICATION is brought to the attention of
                ETSI, the Director-General of ETSI shall immediately request the
                owner to give within three months an irrevocable undertaking in
                writing that it is prepared to grant irrevocable licenses on fair,
                reasonable and non-discriminatory [FRAND] terms and conditions
                under such IPR to at least the following extent:

                • MANUFACTURE, including the right to make or have made
                customized components and sub-systems to the licensee’s own
                design for use in MANUFACTURE;


11
   The SSOs based in the United States also have IPR policies that govern the availability of
licenses to SEPs. Section 10 of ATIS’s Operating Procedures for ATIS Forums and Committees
sets out the IPR Policy, which, inter alia, adopts the American National Standards Institute Patent
Policy.      Operating Procedures for ATIS Forums and Committees (version 5.5),
https://www.atis.org/wp-content/uploads/01_legal/docs/OP.pdf. Clause 3.1.1 of TIA’s IPR Policy
sets out similar obligations.                TIA IPR Policy, https://www.tiaonline.org/wp-
content/uploads/2018/05/TIA_Intellectual_Property_Rights_Policy.pdf.

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                • sell, lease, or otherwise dispose of EQUIPMENT so
                MANUFACTURED;

                • repair, use, or operate EQUIPMENT; and

                • use METHODS.

                The above undertaking may be made subject to the condition that
                those who seek licenses agree to reciprocate.

       37.     Clause 15 of the ETSI IPR Policy defines IPR as “any intellectual property right

conferred by statute law including applications therefor other than trademarks. For the avoidance

of doubt rights relating to get-up, confidential information, trade secrets or the like are excluded

from the definition of IPR.”

       38.     Further, Clause 15 the ETSI IPR Policy defines “Essential” as follows:

                “ESSENTIAL” as applied to IPR means that it is not possible on
                technical (but not commercial) grounds, taking into account normal
                technical practice and the state of the art generally available at the
                time of standardization, to make, sell, lease, otherwise dispose of,
                repair, use or operate EQUIPMENT or METHODS which comply
                with a STANDARD without infringing that IPR. For the avoidance
                of doubt in exceptional cases where a STANDARD can only be
                implemented by technical solutions, all of which are infringements
                of IPRs, all such IPRs shall be considered ESSENTIAL.

       39.     Obtaining voluntary FRAND commitments enables ETSI to include patented

technology in its standards with confidence that owners of declared SEPs will not employ holdup

tactics to exploit licensees’ investments in the standard (e.g., by demanding unreasonable royalties)

that would undermine the subsequent widespread adoption of the standards.                If a FRAND

commitment is not provided, the IPR Policy provides for ETSI to attempt to change the standard

to avoid the patent or patent application in question.

       40.     Appendix A to the ETSI IPR Policy provides IPR Declaration forms through which

ETSI members can declare IPRs as potentially essential and commit to licensing such IPRs on



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FRAND terms and conditions.          In particular, the IPR Declaration provides the option to

“irrevocably declare[]” that the IPR owner is “prepared to grant irrevocable licenses”:

                the Declarant hereby irrevocably declares that (1) it and its
                AFFILIATES are prepared to grant irrevocable licenses under
                its/their IPR(s) on terms and conditions which are in accordance
                with Clause 6.1 of the ETSI IPR Policy, in respect of the
                STANDARD(S), TECHNICAL SPECIFICATION(S), or the ETSI
                Project(s), as identified above, to the extent that the IPR(s) are or
                become, and remain ESSENTIAL to practice that/those
                STANDARD(S) or TECHNICAL SPECIFICATION(S) or, as
                applicable, any STANDARD or TECHNICAL SPECIFICATION
                resulting from proposals or Work Items within the current scope of
                the above identified ETSI Project(s), for the field of use of practice
                of such STANDARD or TECHNICAL SPECIFICATION; and (2)
                it will comply with Clause 6.1bis of the ETSI IPR Policy with
                respect to such ESSENTIAL IPR(s).

        41.     Under the ETSI FRAND regime, a party that has made a voluntary FRAND

commitment has “irrevocably” committed its willingness to grant licenses to users of the standard.

By contrast, a user of the standard owes no contractual obligation to ETSI or SEP holders; rather,

that user has the option to take a license to SEPs on FRAND terms. SEP holders and users of the

standard are thus in very different positions—while SEP holders can be compelled as a matter of

contract law to honor their voluntary FRAND commitments, users have made no such

commitments.

        42.     Patents are also national rights, and a court lacks the authority to adjudicate the

merits of patents from other countries. But in a dispute over FRAND terms for a global portfolio,

the parties can consent to a court’s authority to resolve the controversy without having to address

the merits of all patents.

        43.     Ericsson has previously consented to this Court’s ability to set global FRAND

terms in a breach of contract claim. In litigation against Samsung—where Ericsson alleged that

Samsung breached its binding FRAND contractual commitments to ETSI as to its global SEP

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portfolio—Ericsson consented to this Court’s authority to adjudicate a FRAND dispute on a global

basis. For example, Ericsson advocated that “the Court has clear authority to hear Ericsson’s

FRAND claims.”12 Further, pointing to cases in which both sides either consented to or sought

adjudications on a global basis (e.g., Microsoft Corp. v. Motorola, Inc., 696 F.3d 872 (9th Cir.

2012)), Ericsson contended that “U.S. courts of appeals have affirmed district courts’ subject-

matter jurisdiction to adjudicate breach of FRAND claims on a global basis.”13 As set forth herein,

Apple consents to this Court determining FRAND terms for Ericsson’s global declared SEP

portfolio as part of Apple’s breach of contract claim. Given that the parties have previously entered

cross-licenses and Ericsson will need to renew its license to Apple’s SEPs at the expiration of the

2015 License, Apple is also willing to have the Court adjudicate terms for Apple’s SEPs as part of

the overall resolution of the parties’ FRAND licensing dispute, if Ericsson wishes to do so.14

           B.    Apple’s Cellular SEP Licensing Program

           44.   Apple is committed to promoting fair, reasonable, and non-discriminatory licensing

of SEPs. Apple values invention, respects intellectual property, and recognizes the pertinent role

of developing voluntary industry standards. Apple believes that standardization is beneficial when

it advances marketplace cooperation and interoperability, allowing consumers to have confidence

that products reliably interact with other products. Apple’s differentiating features drive demand

for all Apple products, while standards allow interoperability with other products around the world.


12
  Ericsson’s Response in Opposition to Samsung’s Motion to Dismiss Ericsson’s FRAND-
Related Claims at 1, Ericsson Inc. v. Samsung Elecs. Co., Ltd., No. 2:20-cv-380-JRG (E.D. Tex.
Mar. 17, 2021), ECF 81.
13
     Id. at 7.
14
  A patent licensor cannot force a prospective licensee to participate in a rate-setting process—
the prospective licensee is under no contractual duty to take a license. (In contrast, a FRAND
commitment imposes a contractual duty to offer FRAND terms to FRAND-committed patents.)
Thus, Ericsson will need to consent to rate-setting on Apple’s own SEPs. Apple stands ready to
do so in this case, if Ericsson wishes.
                                                 13
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       45.       The core principles guiding Apple’s approach to FRAND licensing of SEPs were

addressed by Apple a decade ago in a letter to ETSI. Since then, Apple’s approach has retained

these core principles with some modifications to reflect changes in the law and evolution of the

cellular industry, along with Apple’s continuing experience dealing with third parties attempting

to abuse the FRAND licensing process.

       46.       As part of its commitment to transparency, Apple’s FRAND principles are spelled

out clearly on its website, https://www.apple.com/legal/intellectual-property/frand/. They include

the following:

   •   Both SEP licensors and licensees should negotiate transparently and willingly based on
       an exchange of relevant information.

   •   Traditional patent law and burdens of proof should be applied to test the merits of SEPs
       and owners’ royalty demands, just as they are for all patents.

   •   FRAND Royalty Base

             o There should be a common FRAND royalty base that applies equally to all SEP
               licensors and SEP licensees.

             o The common royalty base for SEPs should be no more than the smallest salable
               unit where all or substantially all of the inventive aspects of the SEP are practiced.

             o This base should be further apportioned to isolate the SEP value, separate and apart
               from prior art, non-patented features, other patented technologies, standardization
               itself, and contributions and innovations of others (i.e., materials, manufacturing,
               marketing, etc.).

             o For cellular standards, the smallest salable unit should be at most the baseband chip.

   •   FRAND Royalty Rate

             o A FRAND royalty rate should be proportional among SEP licensors and
               comparable among SEP licensees.

             o A SEP licensor’s pro rata share of declared SEPs is an objective reference point in
               a FRAND negotiation.



                                                  14
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             o An objective reasonable royalty rate protects against SEP licensors being unjustly
               enriched through excessive royalties (i.e., royalty stacking) to the detriment of both
               SEP licensees and other SEP licensors and contributors, as well as consumers.

             o An objective reasonable royalty rate applied to a common royalty base protects SEP
               licensees from cumulative, excessive royalties.

             o ASP or use-based methodologies for determining FRAND royalties are a back-door
               for SEP licensors to discriminate between licensees, to charge different royalties
               for the same SEPs, and to capture value attributable to licensee innovations.

       C.       Ericsson’s SEP Licensing Program

       47.      Ericsson has a portfolio of SEPs it has declared essential to the cellular standards

ETSI has promulgated and for which it has made voluntary, irrevocable commitments to ETSI to

license on FRAND terms and conditions in return for the benefit of being able to license the large

number of companies that use globally-adopted standards.

       48.      As Ericsson has long described its approach to licensing SEPs, the SEP holder’s

proportionate share of SEPs is an important consideration in determining FRAND royalties—i.e.,

the larger the share of the SEP stack, the higher the royalties; the lower the share of the SEP stack,

the lower the royalties. For example, in a 2002 press release, Ericsson and other industry

participants stressed setting rates “proportional” to each company’s number of SEPs15:

                 Industry leaders NTT DoCoMo, Ericsson, Nokia and Siemens
                 today reached a mutual understanding to introduce licensing
                 arrangements whereby essential patents for W-CDMA are licensed
                 at rates that are proportional to the number of essential patents
                 owned by each company.




15
   Nokia Press Release, Industry leaders NTT DoCoMo, Ericsson, Nokia and Siemens, and
Japanese manufacturers reach a mutual understanding to support modest royalty rates for the W-
DCMA         technology      worldwide,      Nov.       6,      2002,       available        at
https://www.sec.gov/Archives/edgar/data/924613/000110465902006769/j6199_6k.htm.

                                                 15
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Likewise, in a 2006 submission to ETSI made with other ETSI members, Ericsson took the

position that “compensation under FRAND must reflect the patent owner’s proportion of all

essential patents.”16

          49.    In 2007, Ericsson’s then-Chief Financial Officer, Karl-Hendrik Sundstrom,

described Ericsson’s efforts to get “more essentials”—i.e., more SEPs—to benefit Ericsson in

cross licensing.17

          50.    Also in 2007, Ericsson explained that “[i]n practice, FRAND means reasonable

accumulated IPR costs where the contributors are compensated proportionally in relation to their

patent portfolio within a standard.”18     Similarly, in a 2012 submission to the International

Telecommunications Union, Ericsson elaborated on the concept of proportionality for determining

royalties and the need to justify a requested royalty in bilateral negotiations: “It is Ericsson’s

position that patent holders need to consider their contribution to a particular standard, in relation

to other contributions, when setting their FRAND royalty, and that a FRAND offer needs to be

substantiated by argument in bilateral negotiation, where the licensee is also allowed to challenge

such substantiation.”19




16
     Ericsson, Motorola, Nokia, Proposal for IPR Policy Reform to ETSI, Jan. 10-11, 2006.
17
     LM Ericsson Q2 2007 Earnings Call Transcript at 18 (July 20, 2007) (alteration supplied).
18
   Ericsson, Ericsson Intellectual Property – A driver for state-of-the-art telecommunications
technology, Feb. 2007.
19
  Jonas Sundborg, Ericsson on FRAND and SEP Litigation at 5, ITU Patent Roundtable, Oct. 10,
2012.

                                                 16
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           D.    Apple and Ericsson’s 2015 License

           51.   On December 21, 2015, Ericsson announced that it entered a new license with

Apple for Ericsson’s cellular SEPs20:

                 Ericsson and Apple have agreed on a global patent license
                 agreement between the two companies. The agreement includes a
                 cross license that covers patents relating to both companies’
                 standard-essential patents (including the GSM, UMTS and LTE
                 cellular standards), and grants certain other patent rights. In
                 addition, the agreement includes releases that resolve all pending
                 patent-infringement litigation between the companies.

                 As part of the seven-year agreement, Apple will make an initial
                 payment to Ericsson and, thereafter, will pay on-going royalties.

           52.   Ericsson further disclosed that “[i]ncluding positive effects from the settlement, and

including the ongoing IPR business with all other licensees, Ericsson estimates full year 2015 IPR

revenues will amount to SEK 13-14 b,” which in 2015 translated to approximately $1.5-1.6

billion.21

           53.   Under the parties’ 2015




20
   Ericsson Press Release, Ericsson and Apple Sign Global Patent License Agreement, Settle
Litigation (Dec. 21, 2014).
21
     Id.
22



                                                  17
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      54.




      55.




      56.




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           57.




           58.   The 2015 License remains in force today.




           59.   Although the



                 this dispute is properly before this Court because, as described herein, Ericsson put

the agreement at issue before this Court through its lawsuit here. T




           60.



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     Id.

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       E.      Apple and Ericsson’s Discussions of a New License and Ericsson’s
               Premature Litigations

       61.     Over the course of the past decade, and especially in the years following the parties’

2015 license agreement, Apple’s involvement in the development of standardized technologies

and participation in various aspects of SSO policy discussion has deepened. Apple participates in

approximately over 100 diverse SSOs, including ETSI, and Apple has contributed to the

advancement of a wide range of standards, including those developed by 3GPP.

       62.     Apple has also invested resources toward cultivating its cellular SEP portfolio, both

organically and through strategic acquisitions. For example, Apple has actively participated in the

development of the 5G specifications at 3GPP. When Apple acquired Intel’s smartphone modem

business in 2019, it also acquired Intel’s patents for then-existing and future wireless technology.

Apple holds over 17,000 wireless technology patents, ranging from protocols for cellular

standards, including 3GPP, to modem architecture and modem operation.

       63.     Since the parties’ 2015 agreement, Ericsson’s overall share of declared cellular

SEPs has decreased by approximately 25% while Apple’s share has increased by approximately

500%. Today, Apple holds a share of declared 5G patent families that is comparable to Ericsson’s

share. Given these facts, under any cross license between Ericsson and Apple, Apple’s net

payments to Ericsson should decrease as compared to under the 2015 license.

       64.     Starting in late 2020, Ericsson and Apple began high-level discussions regarding a

schedule for negotiating renewal of their license agreement in advance of the expiration of its

seven-year term. Throughout the parties’ discussions, Apple has made it clear that it is willing to

take a license to Ericsson’s SEP portfolio on FRAND terms, and do so irrespective of Ericsson

taking a license to Apple’s SEP portfolio.




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       65.     Ericsson and Apple agreed that the license negotiations would be conducted under

a non-disclosure agreement. Ericsson refused to provide any patent-specific materials until the

non-disclosure agreement was in effect. Ericsson insisted that the parties stick to the last non-

disclosure agreement agreed upon by the parties for the 2015 license negotiations, and, for the sake

of continuity and expediency, Apple agreed.

       66.     Less than two weeks after signing the non-disclosure agreement, on June 9, 2021,

Apple proposed a detailed schedule for technical discussions, including the information to be

exchanged between the parties. Apple advised that it would be prepared to start technical

discussions earlier than the July 2, 2021 date that Ericsson requested so that the parties would have

time for a full and robust technical discussion.

       67.     On June 18, 2021, Ericsson responded to Apple’s proposed schedule by delaying

the start of discussions even further, until the end of August, to accommodate Ericsson’s European

summer holidays.

       68.     On June 25, 2021, Apple stated its disappointment at the delayed start of the parties’

technical discussions and exchange of claim charts until the end of August. Apple requested that

Ericsson consider whether it was prepared to start earlier. Apple also requested that the parties

exchange their respective list of SEPs in early July in order for each side to understand what the

other believed it needed to license.

       69.     On July 2, 2021, Ericsson refused Apple’s request to exchange lists of SEPs, instead

offering to discuss providing a list of all SEPs after the parties’ technical discussions of claim

charts were completed.

       70.     Apple reiterated its request to exchange lists of SEPs on July 13, 2021. In response,

Ericsson refused to provide a specific list of patents and instead referred Apple to all declarations



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Ericsson has made to ETSI: “As for a list of Ericsson’s declarations, that information is publicly

available and can be located on the ETSI website (https://ipr.etsi.org/).”

       71.     On August 20, 2021, the parties exchanged the first of three rounds of technical

information, with both sides providing SEP claim charts. The parties met on September 21, 2021

to discuss feedback on a subset of the first round of exchanged technical information, per the

parties’ agreement. On September 27, 2021, the parties exchanged the second round of technical

information, with both sides providing SEP claim charts. The parties met on October 26, 2021 to

discuss feedback on a subset of the second round of exchanged technical information, per the

parties’ agreement. On November 1, 2021, the parties exchanged the third and final round of

technical information, with both sides providing SEP claim charts. The parties met on November

30, 2021 to discuss feedback on a subset of the third round of exchanged technical information,

per the parties’ agreement. During these discussions, Apple raised concerns about the essentiality

of a subset of the technical information Ericsson provided.

       72.     One day before the first technical meeting, on September 20, 2021, Ericsson

requested business discussions to be set up in parallel to the technical discussions, and offered to

“provide an update on Ericsson’s overall business, our licensing program and present our cross-

license proposal.”

       73.     On September 29, 2021, Apple requested that the business discussions⎯tentatively

scheduled for October 5, 2021 pending Ericsson’s confirmation of its availability⎯include an

exchange of certain additional patent information to facilitate understanding the scope and value

of the parties’ respective cellular SEP portfolios. Apple did not condition business (or technical)

discussions on Ericsson’s willingness to provide the requested information. Specifically, Apple

requested, for each patent family that Apple or Ericsson contends contains one or more active,


                                                 22
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declared cellular SEPs, identifying (a) representative patent number; (b) the standard(s) to which

the party claims it is essential; (c) exemplary standard section citations for the representative

patent, if available; (d) related family members for the representative patent; (e) additional

citations to standard sections for the related patents, if available; (f) whether such patent (or

application it depends from) existed as of the parties’ prior agreement in 2015. Apple also

proposed that the parties identify all declared cellular SEPs that were active (i.e., either an actively

pending application or an issued, unexpired patent) in 2015, but that have since expired or are no

longer owned, because such information would assist the parties in using the 2015 agreement as a

starting point for commercial terms, in that the patents added since 2015 can be better compared

to those still remaining from 2015.

        74.      Unbeknownst to Apple, on September 29, 2021—the same day that Apple sent a

letter to Ericsson outlining its goals for the parties’ first business meeting—Ericsson secretly

initiated litigation against Apple in the Netherlands, as described more fully below.

        75.      Ericsson responded to Apple’s request the next day, on September 30, 2021,

declining to exchange the specific items during the business discussions, as Ericsson “believe[d]

that much of the information has been or will soon be exchanged in connection with our ongoing

technical discussions.” In that same correspondence, Ericsson confirmed the October 5, 2021

meeting.      Ericsson again said nothing about the proceeding it had already initiated in the

Netherlands.

        76.      On October 4, 2021, at 2:25 p.m. Pacific time, Ericsson emailed Apple that “[i]n

advance of our business meeting tomorrow, we wanted to provide you with an advance copy of

our licensing presentation. As you will see, Ericsson is willing to continue to offer Apple our

publicly announced 5G multimode rate of $5 per phone (with a $1 early signing discount), a rate



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which we will continue to honor assuming we execute a license relatively quickly.” Ericsson’s

email did not mention that it had already sued Apple in the Netherlands. And Ericsson has

subsequently contended that this email provided Apple with an “offer”—notwithstanding that it

simply ignored the terms of the parties’ prior agreement in favor of Ericsson’s “sticker prices.”

          77.     Just six minutes later—at 2:31 p.m. Pacific—Ericsson sued Apple again, this time

by complaining to this Court that “[t]he negotiations made clear there is a dispute between Apple

and Ericsson as to the essentiality, and value, of Ericsson’s essential patent portfolio.”31

          78.     Notwithstanding that the 2015 License remains in force

                      , Ericsson seeks declarations that “Ericsson has complied with its commitment

to ETSI that it is prepared to grant licenses to its Essential Patents on fair, reasonable, and

nondiscriminatory terms” and “that Ericsson has complied with the ETSI IPR Policy in all respects,

and all other applicable laws that would affect Ericsson’s prospective license to Apple.”32

          79.     Ericsson alleges that FRAND licensing is typically reciprocal33:

                  Ericsson’s [sic] has conditioned its FRAND Commitment upon
                  reciprocity, as expressly permitted by Clause 6.1 of the ETSI IPR
                  Policy.    Specifically, Ericsson has stated that its FRAND
                  Commitment pertaining to its Essential Patents is subject to the
                  “condition that those who seek licenses agree to reciprocate.” As a
                  manufacturer of cellular infrastructure equipment, Ericsson
                  typically negotiates cross-license agreements that provide Ericsson
                  a reciprocal license to the other company’s technology.

Further, Ericsson also acknowledges that “Ericsson has also consummated two prior licenses with

Apple pursuant to its FRAND Commitment. Ericsson’s previous two licenses with Apple were




31
     Original Complaint ¶ 54, Ericsson Inc. v. Apple Inc., No. 2:21-cv-376 (E.D. Tex. Oct. 4, 2021).
32
     Id. at 17.
33
     Id. ¶ 41.

                                                  24
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cross-licenses where Ericsson also received a license from Apple.”34 Further, Ericsson alleges that

the parties’ current negotiations are directed to a “new cross-license.”35

           80.       Ericsson concedes that Apple owns a “cellular patent portfolio” to which Apple has

added patents through acquisition, including patents Apple acquired from Intel in 2019.36 But

Ericsson alleges that “Apple owns a smaller patent portfolio compared to Ericsson and other major

contributors to the 3GPP technical specifications” and so “[f]or the foreseeable future, Apple

expects to be a net payor of royalties for cellular essential patents.”37 Accordingly, Ericsson

alleges that Apple has determined that notwithstanding owning SEPs, it “stands to benefit

financially if it can devalue essential patent royalty rates.”38 Ericsson thus accuses Apple of

seeking to devalue all SEPs—including Apple’s own.

           81.       Ericsson repeatedly alleges that Apple’s public positions on SEP licensing violate

FRAND, including:

                 •   “Apple’s self-proclaimed and highly publicized FRAND licensing principles
                     (many of which have been expressly rejected by courts and by the industry)”;39

                 •   Apple “requiring royalties be calculated on the now-rejected SSPPU theory”;40

                 •   “Nor has Apple retreated from its prior public assertions that the only way to
                     comply with FRAND is to adhere to Apple’s self-declared methodology for
                     licensing essential patents, despite court decisions that flatly rejected Apple’s
                     approach to cellular essential patent licensing”;41


34
     Id. ¶ 43.
35
     Id. ¶ 52.
36
     Id. ¶ 45.
37
     Id.
38
     Id.
39
     Id. ¶ 9.
40
     Id. ¶ 10.
41
     Id. ¶ 16.

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                 •   “Another Apple devaluation tactic is to assert that the FRAND Commitment
                     requires essential patent owners to base their royalties on an artificial and unduly
                     restrictive royalty base that has been rejected by the industry and courts”;42 and

                 •   “Apple’s inflexible licensing position has been rejected by the industry, by ETSI,
                     and by the courts.”43

           82.       Ericsson thus accuses Apple of devaluing not just others’ SEPs but Apple’s own

SEPs and violating Apple’s FRAND commitments,



           83.       Further, Ericsson alleges that, notwithstanding Apple’s current license to

Ericsson’s patents, “there is a dispute between Apple and Ericsson as to the essentiality, and value,

of Ericsson’s essential patent portfolio.”44

           84.       In addition to its October 4, 2021 case in this Court, Ericsson also has pursued

litigation in the Netherlands. There, on September 29, 2021, Ericsson approached a court in secret,

without giving prior notice to Apple, to obtain a temporary order stopping Apple from preventing

or interfering with Ericsson’s pursuit of injunctions or infringement litigation throughout the

world—in other words, Ericsson sought from the Dutch court an anti-anti-suit injunction to prevent

Apple from obtaining anti-suit injunctions against Ericsson anywhere in the world.

           85.       On October 4, 2021, without Apple’s knowledge of Ericsson’s claims or giving

Apple an opportunity to contest them, and thus without having heard from Apple at all, the Dutch

court granted Ericsson’s request and issued a temporary order prohibiting Apple from seeking an

anti-suit injunction against Ericsson patent assertions in the Netherlands with the threat of a penalty

of €10 million for a violation, to be increase by €1 million per day to a maximum fine of €100


42
     Id. ¶ 49.
43
     Id.
44
     Id. ¶ 54.

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million—notwithstanding that Apple is currently licensed to Ericsson’s patents. But in pursuing

its requests, Ericsson misled the Dutch court. Ericsson argued that there was a risk that Apple

would seek such an anti-suit injunction because Apple had previously done so against Qualcomm,

writing that “[i]n its most recent global dispute with Qualcomm, Apple also in fact applied for an

ASI.”45 This was a misrepresentation. In that case, it was Qualcomm, not Apple, that sought an

anti-suit injunction. See Apple Inc. v. Qualcomm Inc., No. 317CV00108GPCMDD, 2017 WL

3966944, at *1 (S.D. Cal. Sept. 7, 2017) (“Before the Court is a motion for anti-suit injunction

filed by Defendant and Counterclaim-Plaintiff Qualcomm Incorporated”).

          86.    Ericsson also informed the Dutch court that, notwithstanding the parties’ license, it

would seek rulings against Apple that certain of its SEPs are essential to the 4G and/or 5G standard

and are valid: “Ericsson intends to initiate inter partes actions shortly after the submission of the

present writ of summons and also prior to the expiry of the aforementioned license with Apple.

Ericsson will, amongst others, request the court in The Netherlands to already confirm that the

patents relied on are indeed valid and essential to the 4G and/or 5G standards.”46 Ericsson also

attached to its filing two draft summonses for enforcement of European patents that are licensed

under the 2015 License. When asked by the Dutch court at a November 18, 2021 hearing about

its strategy for the two enforcement actions, Ericsson’s counsel explained that Ericsson intends to

later amend its prayer for relief to seek to enjoin Apple from infringing those patents. Ericsson’s

counsel elaborated that Ericsson’s intent is that it get a head start in litigation and not lose time

having to wait until the 2015 License expires before bringing suit against Apple.




45
  Ericsson Writ of Summons Interim Relief Proceedings ¶ 94 (English translation served by
Ericsson).
46
     Id. ¶ 18.

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        87.     After hearing Apple’s arguments on October 8, the Dutch court lifted the temporary

injunction in an October 18 order. The court concluded that, stripped of its reliance on the

Qualcomm case, Ericsson had offered no proof that Apple presented sufficient threat that it would

seek an anti-suit injunction against Ericsson.

        88.     In addition to its request for a temporary injunction, Ericsson also requested that

the Dutch court, after hearing from Apple, enjoin Apple from pursuing anti-suit injunctions on a

longer-term and on global basis. But on December 16, 2021, the Dutch court rejected Ericsson’s

request for such an injunction of global applicability against Apple.

        89.     On October 5, 2021, Apple wrote to Ericsson to inform it that Ericsson is

“contractually barred from bringing” its lawsuits in this Court and in the Netherlands. Ericsson

responded on October 5, 2021, stating that, despite suing first in the Netherlands and then in this

Court, “we do not wish to derail our negotiation track.”

        90.     On October 10, 2021, Apple again wrote to Ericsson, describing that “the day

before the first business discussion was set to occur, Ericsson filed actions in various courts, clearly

breaching Ericsson’s contractual commitments and disrupting the negotiations.” Ericsson has

refused to withdraw its lawsuits.

        91.     Ericsson chose litigation over negotiation because it is interested in obtaining

significantly more from Apple in royalties than under the parties’ prior license—even considering

the change in the parties’ respective SEP holdings since then in a way that benefits Apple.

Ericsson’s assertions to Apple now about suing first and negotiating later differ sharply from

Ericsson’s position when HTC sued Ericsson in the midst of negotiations. Then, Ericsson was

unequivocal that such tactics foreclosed meaningful negotiations:




                                                  28
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                  •   “[B]efore Ericsson could respond to HTC’s offer, and while Ericsson believed the
                      parties were still negotiating in good faith, HTC sued Ericsson . . . shutting the door
                      on continued business negotiations.”47

                  •   “HTC unilaterally put an end to the parties’ negotiations when it filed a lawsuit
                      against Ericsson.”48

                  •   “HTC’s lawsuit demonstrates that HTC never intended to negotiate with Ericsson
                      in good faith, had no plans to pay a FRAND royalty for Ericsson’s essential patents,
                      and would not offer a FRAND license (or any license at all) for its essential
                      patents.”49

          92.         On October 27, 2021, notwithstanding Ericsson’s conduct, Apple tried again to

resolve the parties’ dispute by proposing binding arbitration of FRAND terms. Although Ericsson

has claimed it is willing to arbitrate, Ericsson refused to accept Apple’s proposal without offering

any valid justification why. As Apple explained to Ericsson in a December 14, 2021 letter,

Ericsson’s conduct demonstrates that it is not really interested in arbitration despite its claims to

the contrary.

          93.         On November 19, 2021, Apple wrote to Ericsson to propose extending the parties’

existing license                      with some modifications to account for changes since 2015. These

included

                                                                                                        was

generous to Ericsson in light of the fact that Ericsson’s share of SEPs had declined since 2015,

while during that same period Apple’s share had grown significantly, and the fact

                                                                          Ericsson declined Apple’s offer.



47
  Defendants Telefonaktiebolaget LM Ericsson and Ericsson Inc.’s First Amended Answer and
Counterclaims at 2, HTC Corp. v. Telefonaktiebolaget LM Ericsson, No. 6:18-cv-00243-JRG
(E.D. Tex. June 4, 2018), ECF 89.
48
     Id. at 26.
49
     Id. at 27.

                                                        29
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       94.     On November 22, 2021, Apple wrote to Ericsson about its breaches of the 2015

License and again asked whether Ericsson would dismiss its improper lawsuits against Apple.

Apple also asked Ericsson whether it would insist on using its publicly announced rates as the

basis for negotiation rather than the terms of the parties’ existing agreement. Ericsson’s response

did not answer those questions, instead claiming that they had been previously addressed by

Ericsson during the parties’ negotiations.

       95.     On December 17, 2021, Apple informed Ericsson that Apple had filed this

Complaint to request the Court’s assistance in resolving the parties’ dispute. Given its request in

this Complaint that this Court set FRAND terms for a global license to Ericsson’s declared SEPs,

Apple proposed that the parties agree not to pursue any patent claims in the interim and, in

particular, not to pursue any claims for injunctions that would be used as leverage to derail the

setting of FRAND terms.

       96.     Apple’s concern about Ericsson’s holdup strategy is well founded. Ericsson has a

history of seeking injunctions on both declared SEPs and non-essential patents (“NEPs”) as a

means to coerce licensees to accept non-FRAND royalties. Indeed, in 2015 when Ericsson sued

Apple in the International Trade Commission in two different cases, one asserting SEPs and one

NEPs, and sought to exclude Apple products from importation into the United States, Ericsson

was candid about its strategy. In both cases, Ericsson explained that, where licensees “are

unwilling [to] enter into a license agreement, Ericsson invests in patent enforcement litigation to




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motivate those unwilling licensees to license the applicable Ericsson patent portfolios.”50 Ericsson

elaborated that “[i]n those patent enforcement proceedings, Ericsson asserts representative patents

from the applicable portfolios.”51

           F.     Ericsson’s 5G Patents

           97.    Ericsson purports to be the owner of U.S. Patent No. 10,374,768 (“’768 patent”).

On August 6, 2019, the ’768 patent, entitled “Efficient SRS Resource Indication Methods,” issued

to Robert Mark Harrison, Sebastian Faxér, Andreas Nilsson, and Sven Petersson. LME is listed

as the assignee on the face of the ’768 patent. A copy of the ’768 patent is attached to this

Complaint as Exhibit 1.

           98.    The ’768 patent has been declared to ETSI by Ericsson to be essential to the 5G

standard,52 and it is one of the patents for which Ericsson seeks royalties from Apple under a global

license.

           99.    The ’768 patent is not essential to any Apple-practiced standard or infringed by

Apple.

           100.   Ericsson purports to be the owner of U.S. Patent No. 10,644,724 (“’724 patent”).

On May 5, 2020, the ’724 patent, entitled “Shift Values For Quasi-cyclic LDPC Codes,” issued to




50
  Verified Complaint of Ericsson Inc. and Telefonaktiebolaget LM Ericsson Under Section 337
of the Tariff Act of 1930, as Amended ¶ 118, Certain Electronic Devices, Including Wireless
Communication Devices, Tablet Computers, Digital Media Players, and Cameras, Inv. No. 337-
TA-952 (Feb. 26, 2015); Verified Complaint of Ericsson Inc. and Telefonaktiebolaget LM
Ericsson Under Section 337 of the Tariff Act of 1930, as Amended ¶ 160, Certain Wireless
Standard Compliant Electronic Devices, Including Communication Devices and Tablet
Computers, Inv. No. 337-TA-953 (Feb. 26, 2015).
51
     Id.
52
     ISLD-201711-028, available at https://ipr.etsi.org/DynamicReporting.aspx.

                                                 31
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Sara Sandberg, Mattias Andersson, and Yufei Blankenship. LME is listed as the assignee on the

face of the ’724 patent. A copy of the ’724 patent is attached to this Complaint as Exhibit 2.

         101.   The ’724 patent has been declared to ETSI by Ericsson to be essential to the 5G

standard,53 and it is one of the patents for which Ericsson seeks royalties from Apple under a global

license.

         102.   The ’724 patent is not essential to any Apple-practiced standard or infringed by

Apple.

         103.   Ericsson purports to be the owner of U.S. Patent No. 11,039,312 (“’312 patent”).

On June 15, 2021, the ’312 patent, entitled “Handling of Multiple Authentication Procedures in

5G,” issued to Vesa Lehtovirta, Noamen Ben Henda, David Castellanos Zamora, and Monica

Wifvesson. LME is listed as the assignee on the face of the ’312 patent. A copy of the ’312 patent

is attached to this Complaint as Exhibit 3.

         104.   The ’312 patent has been declared to ETSI by Ericsson to be essential to the 5G

standard,54 and it is one of the patents for which Ericsson seeks royalties from Apple under a global

license.

         105.   The ’312 patent is not essential to any Apple-practiced standard or infringed by

Apple.

                                           COUNT I
                            (Breach of the 2015 License Agreement)

         106.   Apple restates and incorporates by reference each of the allegations set forth above.

         107.   The




53
     ISLD-201711-020.
54
     ISLD-202005-001; ISLD-202010-028.

                                                 32
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       108.    On October 4, 2021, Ericsson filed a complaint in this Court that acknowledges that

Apple has SEPs that are subject to FRAND commitments and accuses Apple of conduct that

breaches FRAND.



       109.    Moreover, Ericsson has alleged that there is a dispute between Apple and Ericsson

regarding the “essentiality, and value, of Ericsson’s essential patent portfolio” and, on that basis,

filed suits in this Court and in the Netherlands. But the parties’ agreement—

                                                      —remains in force, and thus there is no legally

actionable present dispute about the value or essentiality of those patents. To the contrary, Apple

and Ericsson have agreed on terms to address any such dispute through the end of the 2015 License,

and Apple paid Ericsson for its rights to Ericsson’s patents. By filings its actions in this Court and

the Netherlands, Ericsson is depriving Apple of the full benefit of the 2015 License and breached

the 2015 License.

       110.    As a result of Ericsson’s breaches of the 2015 License, Apple has been injured,

including sustaining injury to its business and property, including Apple’s costs and expenses

relating to negotiations with Ericsson and defending against Ericsson’s complaints in this Court

and in the Netherlands and in pursuing this action, in an amount to be determined at trial.

                                         COUNT II
                  (Breach of Ericsson’s FRAND Contractual Commitments)

       111.    Apple restates and incorporates by reference each of the allegations set forth above.




                                                 33
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       112.    As set forth above, by committing to license its declared SEPs to users of ETSI’s

cellular standards on FRAND terms, Ericsson entered into contractual commitments with ETSI

and its members, including Apple.

       113.    Every party producing products that support ETSI cellular standards, including

Apple, is an intended third-party beneficiary of Ericsson’s contractual commitments to ETSI—

specifically Ericsson’s commitment to grant licenses on FRAND terms to all that make, use, or

sell products supporting the ETSI cellular standards.

       114.    Ericsson is obligated to offer a license to its essential patents to Apple consistent

with the ETSI IPR Policy, including that such a license be on FRAND terms.

       115.    Apple was entitled to rely on Ericsson’s FRAND commitments, both as an ETSI

member and as a third-party beneficiary.

       116.    Ericsson breached its FRAND commitments in its conduct with Apple in multiple

ways. By initiating litigation in the Netherlands on September 29, 2021 and in this Court on

October 4, 2021—even before the parties began their commercial discussions and when the

parties’ current agreement remains in force—Ericsson breached its commitments to be prepared

to license its cellular SEPs on FRAND terms and conditions. As Ericsson acknowledged in its

litigation with HTC, a party that prematurely resorts to litigation in this manner is not genuinely

interested in reaching a license on FRAND terms and conditions but in improperly using the

leverage of litigation to its advantage.

       117.    In addition, to the extent that Ericsson’s October 4, 2021 communication of its

public rates can be considered an offer—as Ericsson claims—it is not FRAND,




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       118.    As a result of these multiple contractual breaches, Apple has been injured, including

in its business and/or property. Ericsson’s refusal to offer a license to Apple on FRAND terms has

deprived Apple of its right to obtain a license to Ericsson’s SEPs and exposed Apple to the risk of

future patent infringement claims by Ericsson. In addition, Ericsson’s refusal to offer a license on

FRAND terms and conditions has consumed the time of Apple employees who have negotiated

with Ericsson. Apple also has been forced to defend groundless litigations and has incurred

substantial expense in doing so.

                                            COUNT III
                                   (Breach of Duty of Good Faith)

       119.    Apple restates and incorporates by reference each of the allegations set forth above.

       120.    As set forth above, by committing to license its declared SEPs to users of ETSI’s

cellular standards on FRAND terms, Ericsson entered into contractual commitments with ETSI

and its members, including Apple.

       121.    Every party producing products that support ETSI cellular standards, including

Apple, is an intended third-party beneficiary of Ericsson’s contractual commitments to ETSI—

specifically Ericsson’s commitment to grant licenses on FRAND terms to all that make, use, or

sell products supporting the ETSI cellular standards.

       122.    Ericsson’s FRAND commitments to ETSI are governed by French law. Under

French law, a party to a contract has an obligation to perform its contractual obligations in good

faith. The duty of good faith requires Ericsson to negotiate with Apple for a license to Ericsson’s

SEPs in good faith.

       123.    Ericsson has breached its obligation of good faith. As set forth above, even before

the parties engaged in commercial discussions about a renewed license, Ericsson sued Apple in

this Court and in the Netherlands. Moreover, Ericsson sued Apple during the term of the parties’


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current license and months before expiration. In addition, to the extent that Ericsson’s October 4,

2021 communication of its public rate can be considered an offer—as Ericsson claims—it was not

made in good faith, including



       124.      As a result of Ericsson’s breaches of its obligation of good faith, Apple has been

injured, including in its business or property. Ericsson has wasted the time of Apple employees

who have negotiated with Ericsson. Apple also has been forced to defend groundless litigations

and has incurred substantial expense in doing so.

                                     COUNT IV
      (Declaration of FRAND Royalties for Ericsson’s Global Cellular SEP Portfolio)

       125.      Apple restates and incorporates by reference each of the allegations set forth above.

       126.      As set forth above, by committing to license its declared SEPs to users of ETSI’s

cellular standards on FRAND terms, Ericsson entered into contractual commitments with ETSI

and its members, including Apple.

       127.      Every party producing products that support ETSI cellular standards, including

Apple, is an intended third-party beneficiary of Ericsson’s voluntary contractual commitments to

ETSI—specifically Ericsson’s commitment to grant licenses on FRAND terms to all that make,

use, or sell products supporting the ETSI cellular standards.

       128.      As set forth above, Ericsson has chosen to engage in litigation rather than good

faith negotiation to reach agreement on FRAND terms and conditions for Apple to license its

cellular SEPs.

       129.      In addition, Ericsson’s public licensing rates are not FRAND, including




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        130.     Ericsson has thus failed to provide Apple with FRAND terms and conditions for a

license to its cellular SEPs.

        131.     As a result of the acts described in the foregoing paragraphs, there exists a

substantial controversy of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment and Ericsson has consented to this Court setting such terms.

        132.     Apple is entitled to a judicial declaration that sets FRAND terms and conditions for

a global license to Ericsson’s cellular SEPs, including by reference to the terms previously agreed

upon by the parties in their 2015 license.

                                          COUNT V
               (Declaratory Judgment of Non-Essentiality and Non-Infringement of
                                  U.S. Patent No. 10,374,768)

        133.     Apple restates and incorporates by reference each of the allegations set forth above.

        134.     Representative claim 1 of the ’768 patent reads as follows (claim element

enumeration added for convenience):

 [pre] 1. A method in a wireless device, operable in a cellular wireless communication
       network, of identifying reference signal resources to be used in a transmission by the
       wireless device, the method comprising:

  [a]    receiving signaling configuring the wireless device with a plurality of reference signal
         resource groups, each group comprising a plurality of reference signal resources;

  [b]    receiving an indication, in a control channel, of a selection of reference signal
         resources to be used, wherein each of the plurality of reference signal resources to be
         used is selected from a different one of the plurality of reference signal resource groups
         such that reference signal resources belonging to the same reference signal resource
         group are not selected for simultaneous use; and

  [c]    transmitting a reference signal to a network node in the network using the indicated
         selection of reference signal resources,

  [d]    wherein the indication of the plurality of reference signal resources to be used includes
         a bit field, the length of the bit field depending on a maximum number of MIMO layers
         that the wireless device is capable of transmitting and a number of reference signal
         resources in a corresponding one of the reference signal resource groups.


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       135.     The ’768 patent is not essential to the 5G standard, including, but not limited to, the

standard described in 3GPP Technical Specification (“TS”) 38.211 v15.7.0, TS 38.212 v15.7.0,

TS 38.214 v15.7.0, TS 38.211 v15.7.0, and/or TS 38.331 v15.7.0, at least because, by way of non-

limiting example, the 5G standard does not require the following claim limitations: 1.[b] and 1.[d].

       136.     No claim of the ’768 patent has been or is infringed, either directly, contributorily,

or by inducement, literally or under the doctrine of equivalents, by Apple or the purchasers of

Apple’s products through the manufacture, use, importation, sale, and/or offer for sale of Apple’s

products, at least because, by way of non-limiting example, Apple’s products do not satisfy the

following claim limitations: 1.[b] and 1.[d].

       137.     As a result of the acts described in the foregoing paragraphs, there exists a definite

and concrete, real and substantial, justiciable controversy between Apple and Ericsson regarding

the non-essentiality and non-infringement of the ’768 patent with respect to Ericsson’s 5G

licensing demand. This controversy is of sufficient immediacy and reality to warrant the issuance

of a Declaratory Judgment.

       138.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Apple

requests the declaration of the Court that Apple does not infringe and has not infringed any claim

of the ’768 patent.

                                         COUNT VI
              (Declaratory Judgment of Non-Essentiality and Non-Infringement of
                                 U.S. Patent No. 10,644,724)

       139.     Apple restates and incorporates by reference each of the allegations set forth above.

       140.     Representative claim 7 of the ’724 patent reads as follows (claim element

enumeration added for convenience):




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 [pre]    7. A method for use in a wireless transmitter of a fifth generation, 5G, new radio, NR
          wireless communication network, the method comprising:

  [a]     encoding information bits for transmission in a 5G NR wireless network using a low-
          density parity check (LDPC) code and a parity check matrix (PCM), the PCM being
          partitioned into square sub-matrices of size Z×Z and being described by a base matrix
          and a shift vector, the shift vector using a shift size Z=7*2j, where j is one of 0, 1, 2, 3,
          4 and 5; and

  [b]     transmitting the encoded information bits to a 5G NR wireless receiver,

  [c]     wherein the base matrix has one entry for each Z×Z sub-matrix, the entry being 0
          corresponding to the sub-matrix being a null matrix, and the entry being 1
          corresponding to the sub-matrix being a cyclic-permutation matrix obtained from a
          Z×Z identity matrix by shifting columns to the right by k elements,

  [d]     wherein non-zero entries in the base matrix are described by triples (e, r, c) denoting
          that the non-zero entry with number e is in row r and column c of the base matrix, the
          triples being given by:{LONG LIST OF TRIPLETS}

  [e]     wherein for the non-zero entry with number e the number k is defined by a shift
          coefficient given by mod(Ve, Z), with Ve denoting the e-th element of the shift vector
          and the shift vector is: {LONG ARRAY OF NUMBERS}.


         141.   The ’724 patent is not essential to the 5G standard, including, but not limited to, the

standard described in 3GPP TS 3GPP TS 38.212 v15.7.0, at least because, by way of non-limiting

example, the 5G standard does not require the following claim limitation: 7.[c].

         142.   No claim of the ’724 patent has been or is infringed, either directly, contributorily,

or by inducement, literally or under the doctrine of equivalents, by Apple or the purchasers of

Apple’s products through the manufacture, use, importation, sale, and/or offer for sale of Apple’s

products, at least because, by way of non-limiting example, Apple’s products do not satisfy the

following claim limitation: 7.[c].

         143.   As a result of the acts described in the foregoing paragraphs, there exists a definite

and concrete, real and substantial, justiciable controversy between Apple and Ericsson regarding

the non-essentiality and non-infringement of the ’724 patent with respect to Ericsson’s 5G


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licensing demand. This controversy is of sufficient immediacy and reality to warrant the issuance

of a Declaratory Judgment.

        144.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Apple

requests the declaration of the Court that Apple does not infringe and has not infringed any claim

of the ’724 patent.

                                         COUNT VII
               (Declaratory Judgment of Non-Essentiality and Non-Infringement of
                                  U.S. Patent No. 11,039,312)

        145.     Apple restates and incorporates by reference each of the allegations set forth above.

        146.     Representative claim 15 of the ’312 patent reads as follows (claim element

enumeration added for convenience):

 [pre] 15. A method in an electronic device configured to communicate through a wireless air
       interface with a home public land mobile network, PLMN, and visiting PLMNs, the
       method comprising:

  [a]    transmitting a first authentication request to a first PLMN to authenticate the electronic
         device;

  [b]    generating a first security key used for integrity protection of messages delivered from
         the home PLMN to the electronic device upon successful authentication based on the
         first authentication request;

  [c]    transmitting a second authentication request to a second PLMN to authenticate the
         electronic device;

  [d]    generating a second security key used for integrity protection of the messages delivered
         from the home PLMN to the electronic device upon successful authentication based on
         the second authentication request;

  [e]    receiving a protected message from the home PLMN;

  [f]    determining which of the first security key and the second security key is a latest
         security key; and

  [g]    using the latest security key to determine contents of a message received from the
         home PLMN.



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       147.    The ’312 patent is not essential to the 5G standard, including, but not limited to, the

standard described in 3GPP TS 33.501 v16.7.1, at least because, by way of non-limiting example,

the 5G standard does not require the following claim limitation: 15.[e].

       148.    No claim of the ’312 patent has been or is infringed, either directly, contributorily,

or by inducement, literally or under the doctrine of equivalents, by Apple or the purchasers of

Apple’s products through the manufacture, use, importation, sale, and/or offer for sale of Apple’s

products, at least because, by way of non-limiting example, Apple’s products do not satisfy the

following claim limitation: 15.[e].

       149.    As a result of the acts described in the foregoing paragraphs, there exists a definite

and concrete, real and substantial, justiciable controversy between Apple and Ericsson regarding

the non-essentiality and non-infringement of the ’312 patent with respect to Ericsson’s 5G

licensing demand. This controversy is of sufficient immediacy and reality to warrant the issuance

of a Declaratory Judgment.

       150.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Apple

requests the declaration of the Court that Apple does not infringe and has not infringed any claim

of the ’312 patent.

                                      PRAYER FOR RELIEF

       151.    Apple requests that the Court grant the following relief:

                      a. Enter judgment in favor of Apple;

                      b. On Apple’s Count I, adjudge and decree that Ericsson is liable for breach of

                         the parties’ 2015 license agreement;

                      c. On Apple’s Count II, adjudge and decree that Ericsson is liable for breach

                         of its FRAND commitments;



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             d. On Apple’s Count III, adjudge and decree that Ericsson is liable for breach

                of its duty of good faith in negotiations with Apple for its FRAND-

                committed patents;

             e. On Apple’s Count IV, declare FRAND terms and conditions for a license

                for Apple to Ericsson’s global portfolio of cellular SEPs, including by

                reference to the terms previously agreed upon by the parties in their 2015

                license;

             f. On Apple’s Counts V to VII, declare that U.S. Patent Nos. 10,374,768,

                10,644,724, and 11,039,312 are not essential to the 5G standard, and Apple

                does not infringe them;

             g. Enter judgment against Ericsson for the amount of damages Apple proves

                at trial;

             h. Award to Apple its costs and expenses associated with this case, together

                with interest; and

             i. Grant such other and further relief as the Court may deem just and proper

                under the circumstances.



DATED: December 17, 2021                        Respectfully submitted,

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